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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION
 FINESSE WIRELESS, LLC         §
                               §
                Plaintiff,     §
 v.                            §                            CASE NO. 2:21-CV-00316-JRG
                               §                             (LEAD CASE)
 AT&T MOBILITY, LLC,           §
                               §                            CASE NO. 2:21-CV-00317-JRG
                               §                             (MEMBER CASE)
                Defendant.     §
                               §
                               §
 FINESSE WIRELESS, LLC,        §
                               §
                Plaintiff,     §
 v.                            §
 CELLCO PARTNERSHIP d/b/a      §                             JURY TRIAL DEMANDED
 VERIZON WIRELESS,             §
                               §
                Defendants,    §
                               §
 NOKIA OF AMERICA CORPORATION, §
                               §
 ERICSSON INC.,                §
                               §
                Intervenors.   §


                          AMENDED DOCKET CONTROL ORDER

       In accordance with the scheduling conference held in this case, it is hereby ORDERED

that the following schedule of deadlines is in effect until further notice of the Court:

  Current Deadline       Proposed Deadline                          Description

 January 2, 2023                                 *Jury Selection — 9:00 a.m. in Marshall, Texas
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    Current Deadline    Proposed Deadline                         Description

    December 5, 2022                          * If a juror questionnaire is to be used, an
                                              editable (in Microsoft Word format)
                                              questionnaire shall be jointly submitted to the
                                              Deputy Clerk in Charge by this date. 1

    November 28, 2022                         *Pretrial Conference — 9:00 a.m. in Marshall,
                                              Texas before Judge Rodney Gilstrap

    November 21, 2022                         *Notify Court of Agreements Reached During
                                              Meet and Confer
                                              The parties are ordered to meet and confer on
                                              any outstanding objections or motions in limine.
                                              The parties shall advise the Court of any
                                              agreements reached no later than 1:00 p.m. three
                                              (3) business days before the pretrial conference.

    November 21, 2022                         *File Joint Pretrial Order, Joint Proposed Jury
                                              Instructions, Joint Proposed Verdict Form,
                                              Responses to Motions in Limine, Updated
                                              Exhibit Lists, Updated Witness Lists, and
                                              Updated Deposition Designations

    November 14, 2022                         *File Notice of Request for Daily Transcript or
                                              Real Time Reporting.
                                              If a daily transcript or real time reporting of court
                                              proceedings is requested for trial, the party or
                                              parties making said request shall file a notice
                                              with the Court.

    November 7, 2022                          File Motions in Limine
                                              The parties shall limit their motions in limine to
                                              issues that if improperly introduced at trial would
                                              be so prejudicial that the Court could not
                                              alleviate the prejudice by giving appropriate
                                              instructions to the jury.

    November 7, 2022                          Serve Objections to Rebuttal Pretrial Disclosures




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 The Parties are referred to the Court’s Standing Order Regarding Use of Juror Questionnaires in
Advance of Voir Dire.



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    Current Deadline     Proposed Deadline                          Description

    October 31, 2022                            Serve Objections to Pretrial Disclosures; and
                                                Serve Rebuttal Pretrial Disclosures

    October 17, 2022                            Serve Pretrial Disclosures (Witness List,
                                                Deposition Designations, and Exhibit List) by the
                                                Party with the Burden of Proof

    October 11, 2022                            *Response to Dispositive Motions (including
                                                Daubert Motions). Responses to dispositive
                                                motions that were filed prior to the dispositive
                                                motion deadline, including Daubert Motions,
                                                shall be due in accordance with Local Rule CV-
                                                7(e), not to exceed the deadline as set forth in
                                                this Docket Control Order. 2 Motions for
                                                Summary Judgment shall comply with Local
                                                Rule CV-56.

    September 26, 2022                          *File Motions to Strike Expert Testimony
                                                (including Daubert Motions)
                                                No motion to strike expert testimony (including a
                                                Daubert motion) may be filed after this date
                                                without leave of the Court.

    September 26, 2022                          *File Dispositive Motions
                                                No dispositive motion may be filed after this date
                                                without leave of the Court.
                                                Motions shall comply with Local Rule CV-56
                                                and Local Rule CV-7. Motions to extend page
                                                limits will only be granted in exceptional
                                                circumstances. Exceptional circumstances
                                                require more than agreement among the parties.

    September 19, 2022   September 22, 2022 Deadline to Complete Expert Discovery

    September 6, 2022    September 13, 2022 Serve Disclosures for Rebuttal Expert Witnesses



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  The parties are directed to Local Rule CV-7(d), which provides in part that “[a] party’s failure to
oppose a motion in the manner prescribed herein creates a presumption that the party does not
controvert the facts set out by movant and has no evidence to offer in opposition to the motion.”
If the deadline under Local Rule CV 7(e) exceeds the deadline for Response to Dispositive
Motions, the deadline for Response to Dispositive Motions controls.



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  Current Deadline      Proposed Deadline                         Description

 August 15, 2022                               Deadline to Complete Fact Discovery and File
                                               Motions to Compel Discovery

 August 15, 2022        August 19, 2022        Serve Disclosures for Expert Witnesses by the
                                               Party with the Burden of Proof

                        August 17, 2022        Defendants to narrow theories to 7 invalidity
                                               theories per claim, with a theory being a unique
                                               combination of obviousness references or one
                                               anticipation theory (For the avoidance of doubt,
                                               theories under 35 U.S.C. §§ 101 & 112 are not
                                               subject to this narrowing)

                        August 10, 2022        Plaintiff to narrow claims to 10 asserted claims,
                                               no more than 7 from any patent

                        August 3, 2022         Defendants to narrow theories to 12 invalidity
                                               theories per claim, with a theory being a unique
                                               combination of obviousness references or one
                                               anticipation theory (For the avoidance of doubt,
                                               theories under 35 U.S.C. §§ 101 & 112 are not
                                               subject to this narrowing)

 July 28, 2022                                 Comply with P.R. 3-7 (Opinion of Counsel
                                               Defenses)

                        July 22, 2022          Plaintiff to narrow claims to 20 asserted claims,
                                               no more than 10 from any patent
(*) indicates a deadline that cannot be changed without showing good cause. Good cause is
not shown merely by indicating that the parties agree that the deadline should be changed.

                              ADDITIONAL REQUIREMENTS

        Mediation: While certain cases may benefit from mediation, such may not be appropriate
for every case. The Court finds that the Parties are best suited to evaluate whether mediation will
benefit the case after the issuance of the Court’s claim construction order. Accordingly, the Court
ORDERS the Parties to file a Joint Notice indicating whether the case should be referred for
mediation within fourteen days of the issuance of the Court’s claim construction order. As a
part of such Joint Notice, the Parties should indicate whether they have a mutually agreeable
mediator for the Court to consider. If the Parties disagree about whether mediation is appropriate,
the Parties should set forth a brief statement of their competing positions in the Joint Notice.

      Summary Judgment Motions, Motions to Strike Expert Testimony, and Daubed
Motions: For each motion, the moving party shall provide the Court with two (2) hard copies of



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the completed briefing (opening motion, response, reply, and if applicable, sur-reply), excluding
exhibits, in D-three-ring binders, appropriately tabbed. All documents shall be single-sided and
must include the CM/ECF header. These copies shall be delivered to the Court within three (3)
business days after briefing has completed. For expert-related motions, complete digital copies of
the relevant expert report(s) and accompanying exhibits shall be submitted on a single flash drive
to the Court. Complete digital copies of the expert report(s) shall be delivered to the Court no later
than the dispositive motion deadline.

        Indefiniteness: In lieu of early motions for summary judgment, the parties are directed to
include any arguments related to the issue of indefiniteness in their Markman briefing, subject to
the local rules’ normal page limits.

       Lead Counsel: The Parties are directed to Local Rule CV-11(a)(1), which provides that
“[o]n the first appearance through counsel, each party shall designate a lead attorney on the
pleadings or otherwise.” Additionally, once designated, a party’s lead attorney may only be
changed by the filing of a Motion to Change Lead Counsel and thereafter obtaining from the Court
an Order granting leave to designate different lead counsel.

        Motions for Continuance: The following excuses will not warrant a continuance nor
justify a failure to comply with the discovery deadline:

(a)    The fact that there are motions for summary judgment or motions to dismiss pending;

(b)    The fact that one or more of the attorneys is set for trial in another court on the same day,
       unless the other setting was made prior to the date of this order or was made as a special
       provision for the parties in the other case;

(c)    The failure to complete discovery prior to trial, unless the parties can demonstrate that it
       was impossible to complete discovery despite their good faith effort to do so.

       Amendments to the Docket Control Order (“DCO”): Any motion to alter any date on
the DCO shall take the form of a motion to amend the DCO. The motion to amend the DCO shall
include a proposed order that lists all of the remaining dates in one column (as above) and the
proposed changes to each date in an additional adjacent column (if there is no change for a date
the proposed date column should remain blank or indicate that it is unchanged). In other words,
the DCO in the proposed order should be complete such that one can clearly see all the remaining
deadlines and the changes, if any, to those deadlines, rather than needing to also refer to an earlier
version of the DCO.

       Proposed DCO: The Parties’ Proposed DCO should also follow the format described
above under “Amendments to the Docket Control Order (‘DCO’).”

        Joint Pretrial Order: In the contentions of the Parties included in the Joint Pretrial Order,
the Plaintiff shall specify all allegedly infringed claims that will be asserted at trial. The Plaintiff
shall also specify the nature of each theory of infringement, including under which subsections of
35 U.S.C. § 271 it alleges infringement, and whether the Plaintiff alleges divided infringement or
infringement under the doctrine of equivalents. Each Defendant shall indicate the nature of each
theory of invalidity, including invalidity for anticipation, obviousness, subject-matter eligibility,


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written description, enablement, or any other basis for invalidity. The Defendant shall also specify
each prior art reference or combination of references upon which the Defendant shall rely at trial,
with respect to each theory of invalidity. The contentions of the Parties may not be amended,
supplemented, or dropped without leave of the Court based upon a showing of good cause.




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